         Case 2:23-cr-20191-SHL-atc          Document 856     Filed 06/16/25    Page 1 of 1
                                             PageID 16009



                                 UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TENNESSEE
                                         Western Division
                                        Office of the Clerk

Wendy R. Oliver, Clerk                                                               Deputy-in-Charge
242 Federal Building                                                        U.S. Courthouse, Room 262
167 N. Main Street                                                          111 South Highland Avenue
Memphis, Tennessee 38103                                                      Jackson, Tennessee 38301
(901) 495-1200                                                                          (731) 421-9200


                                        NOTICE OF SETTING
                    Before Chief Judge Sheryl H. Lipman, United States District Judge


                                              June 16, 2025

              RE:    2:23-cr-20191-SHL
                     USA v. (1) Emmitt Martin, III
                             (2) Tadarrius Bean
                             (3) Demetrius Haley
                             (4) Desmond Mills, Jr.
                             (5) Justin Smith

              Dear Sir/Madam:

            A STATUS CONFERENCE has been SET for FRIDAY, JUNE 20, 2025 at
     10:00 A.M. before Chief Judge Sheryl H. Lipman in Courtroom No. 1, 11th floor of the
     Federal Building, Memphis, Tennessee.

             As to defendants on bond, failure to appear without leave of court will result in a
     forfeiture of appearance bond and issuance of a warrant for arrest.

              If you have any questions, please contact the case manager at the number provided
     below.
                                          Sincerely,
                                          WENDY R. OLIVER, CLERK
                                          BY: s/Melanie Mullen,
                                                 Case Manager for Chief Judge Sheryl H. Lipman
                                                 901-495-1255
                                                 melanie_mullen@tnwd.uscourts.gov
